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8                        UNITED STATES DISTRICT COURT
9                      EASTERN DISTRICT OF CALIFORNIA
10                            SACRAMENTO DIVISION
11
12   UNITED STATES OF AMERICA,                CR. S 04-0004 MCE
13               Plaintiff,
14          v.                                STIPULATION AND ORDER
                                              TO CONTINUE HEARING FOR
15   CYNTHIA BARCELO BLAKE,                   CHANGE OF PLEA
16              Defendant.
     ____________________________/
17
18          THE PARTIES HEREBY STIPULATE AND AGREE that the hearing
19   for change of plea, now scheduled for December 6, 2005, shall be
20   continued to January 10, 2006, at 8:30 a.m.        The parties are
21   finalizing the plea agreement, and require additional time.
22          The parties further stipulate and agree that pursuant to
23   the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A) & (B)(iv), time
24   ///
25   ///
26   ///
27   ///
28   ///
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1    is excluded from December 6, 2005, to January 10, 2006, to allow
2    continuity of counsel and reasonable time for counsel effectively
3    to prepare.
4           Dated:   December 5, 2005
5
     /s/ MATTHEW STEGMAN                    /s/ SHANNAN DUGAN
6    MATTHEW STEGMAN                        SHANNAN DUGAN
     Assistant U.S. Attorney                Attorney for CYNTHIA BLAKE
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8
9           IT IS SO ORDERED.
10   Dated: December 8, 2005
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                                      _____________________________
13
                                      MORRISON C. ENGLAND, JR
14                                    UNITED STATES DISTRICT JUDGE

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